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                                   IN THE UNITED STATES DISTRICT COURT

                                       FOR THE DISTRICT OF OREGON

                                           PENDLETON DIVISION



     JESSICA BATES ,                                        Case No. 2:23-cv-00474-AN

                      Plaintiff,                            DEFENDANTS' ANSWER

              v.

     FARIBORZ PAKSERESHT, in his official
     capacity as Director of the Oregon Department
     of Human Services, LIESL WENDT, in her
     official capacity as Deputy Director of the
     Oregon Department of Human Services,
     APRILLE FLINT-GERNER, in her official
     capacity as Interim Director of the Oregon
     Department of Human Services Child Welfare
     Division; REBECCA GARRISON, in her
     official capacity as certification supervisor for
     the Oregon Department of Human Services
     office in Malheur County, CECILIA
     GARCIA, in her official capacity as
     certification officer for the Oregon Department
     of Human Services office in Malheur County,

                      Defendants.

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              Defendants Fariborz Pakseresht, Liesl Wendt, Aprille Flint-Gerner, Rebecca Garrison,

     and Cecilia Garcia, by and through their undersigned counsel, respond to Plaintiff’s Verified

     Complaint, ECF #1, and admit, deny, and allege as follows.

                                           GENERAL RESPONSE

              The introduction section of Plaintiff’s complaint is a narrative overview of Plaintiff’s

     allegations, opinion, legal argument, and conclusions of law. Of the factual allegations, many are

     duplicated in the body of the Complaint and addressed accordingly. No response is necessary to

     the introduction, however, to the extent a response is necessary Defendants deny any allegations

     made in the introduction that they have not specifically admitted below.

              Defendants deny each and every allegation of Plaintiff’s Complaint not expressly

     admitted herein.

                                                          1.

              Paragraph 1 contains legal conclusions to which no response is required.

                                                          2.

              Paragraph 2 contains legal conclusions to which no response is required.

                                                          3.

              Paragraph 3 contains legal conclusions to which no response is required.

                                                          4.

              Paragraph 4 contains legal conclusions to which no response is required.

                                                          5.

              Paragraph 5 contains legal conclusions to which no response is required.




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                                                           6.

              Defendants are without knowledge or information sufficient to form a belief as to the

     truth of the allegations in paragraph 6 and therefore deny the same.

                                                           7.

              Defendants admit the allegations in paragraph 7.

                                                           8.

              Defendants admit the allegations in paragraph 8.

                                                           9.

              Paragraph 9 purports to describe the duties set forth in the specific statutes cited and, if

     so, Defendants deny any allegations that are inconsistent with those statutory provisions, which

     are the best evidence of their contents and speak for themselves.

                                                          10.

              Defendants admit that Liesl Wendt is the Deputy Directory of DHS. With respect to the

     remainder of paragraph 10, Defendants deny any allegations that are inconsistent with ORS §

     409.130, which is the best evidence of its contents and speaks for itself.

                                                          11.

              Defendants admit that Aprille Flint-Gardner is the Interim Director of the Department’s

     Child Welfare Division. With respect to the remainder of paragraph 11, Defendants deny any

     allegations that are inconsistent with ORS § 409.130, which is the best evidence of its contents

     and speaks for itself.

                                                          12.

              Defendants admit that the responsibilities set forth in paragraph 12 are among those that

     Ms. Flint-Gerner is responsible for. To the extent paragraph 12 implies that those are the only

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     responsibilities of Ms. Flint-Gerner, or that she is solely responsible for those functions,

     Defendants deny any such implication.

                                                         13.

              Defendants admit the allegations in paragraph 13.

                                                         14.

              With respect to paragraph 14, Defendants admit that Ms. Garrison, as part of a collective

     decision-making process, approves and denies applications for applicants seeking certification as

     resource parents or prospective adoptive parents. To the extent paragraph 14 alleges that Ms.

     Garrison is solely responsible for approval and denial, or that Ms. Garrison participates in the

     approval and denial of all applications filed in Oregon, Defendants deny such allegations.

                                                         15.

              Defendants admit the allegations in paragraph 15.

                                                         16.

              With respect to paragraph 16, Defendants admit that Ms. Garcia, as part of a collective

     decision-making process, approves and denies applications for applicants seeking certification as

     resource parents or prospective adoptive parents. To the extent paragraph 16 alleges that Ms.

     Garcia is solely responsible for approval and denial, or that Ms. Garcia participates in the

     approval and denial of all applications filed in Oregon, Defendants deny such allegations.

                                                         17.

              Defendants admit the allegations in paragraph 17.

                                                         18.

              Defendants lack the information sufficient to form a belief as to the truth of the

     allegations of paragraph 18, and therefore deny the same.

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                                                         19.

              Defendants lack the information sufficient to form a belief as to the truth of the

     allegations of paragraph 19, and therefore deny the same.

                                                         20.

              Defendants lack the information sufficient to form a belief as to the truth of the

     allegations of paragraph 20, and therefore deny the same.

                                                         21.

              Defendants lack the information sufficient to form a belief as to the truth of the

     allegations of paragraph 21, and therefore deny the same.

                                                         22.

              Defendants lack the information sufficient to form a belief as to the truth of the

     allegations of paragraph 22, and therefore deny the same.

                                                         23.

              Defendants lack the information sufficient to form a belief as to the truth of the

     allegations of paragraph 23, and therefore deny the same.

                                                         24.

              Defendants lack the information sufficient to form a belief as to the truth of the

     allegations of paragraph 24, and therefore deny the same.

                                                         25.

              Defendants lack the information sufficient to form a belief as to the truth of the

     allegations of paragraph 25, and therefore deny the same.




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                                                          26.

              Defendants lack the information sufficient to form a belief as to the truth of the

     allegations of paragraph 26, and therefore deny the same.

                                                          27.

              Defendants lack the information sufficient to form a belief as to the truth of the

     allegations of paragraph 27, and therefore deny the same.

                                                          28.

              In response to paragraph 28, Defendants admit that Plaintiff has expressed a desire to

     adopt children.

                                                          29.

              Defendants lack the information sufficient to form a belief as to the truth of the

     allegations of paragraph 29, and therefore deny the same.

                                                          30.

              The allegations of paragraph 30 are a statement of Plaintiff’s opinion and interpretation

     of cited biblical passages and, therefore, do not require a response. To the extent a response may

     be required to any allegations in the paragraph, Defendants lack the information concerning

     Plaintiff’s personal beliefs sufficient to form a belief as to their truth.

                                                          31.

              The allegations of paragraph 31 are a statement of Plaintiff’s opinion and interpretation

     of cited biblical passages and, therefore, do not require a response. To the extent a response may

     be required to any allegations in the paragraph, Defendants lack the information concerning

     Plaintiff’s personal beliefs sufficient to form a belief as to their truth.



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                                                         32.

              Defendants lack the information sufficient to form a belief as to the truth of the

     allegations of paragraph 32, and therefore deny the same.

                                                         33.

              Defendants admit that Plaintiff has expressed interest in adopting two children. With

     respect to the remainder of the allegations in paragraph 33, Defendants lack the information

     sufficient to form a belief as to the truth of the allegations, and therefore deny the same.

                                                         34.

              Defendants admit that Plaintiff has expressed an interest in adopting a sibling pair of

     children who are younger than nine years old. Defendants lack the information sufficient to form

     a belief as to the truth of the remaining allegations of paragraph 34, and therefore deny the same.

                                                         35.

              Defendants lack the information sufficient to form a belief as to the truth of the

     allegations of paragraph 35, and therefore deny the same.

                                                         36.

              Defendants lack the information sufficient to form a belief as to the truth of the

     allegations of paragraph 36, and therefore deny the same.

                                                         37.

              Defendants lack the information sufficient to form a belief as to the truth of the

     allegations of paragraph 37, and therefore deny the same.

                                                         38.

              Defendants lack the information sufficient to form a belief as to the truth of the

     allegations of paragraph 38, and therefore deny the same.

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                                                         39.

              With respect to paragraph 39, Defendants admit that Plaintiff inquired with Every Child

     Oregon in March 2022, and that she filed an application to become certified to adopt a child from

     Oregon’s foster-care system in May 2022.

                                                         40.

              Paragraph 40 characterizes the referenced online data report, which speaks for itself and

     is the best evidence of its contents, and Defendants deny any inconsistent allegations.

                                                         41.

              Paragraph 41 characterizes the referenced report, which speaks for itself and is the best

     evidence of its contents, and Defendants deny any inconsistent allegations.

                                                         42.

              Paragraph 42 characterizes the referenced report, which speaks for itself and is the best

     evidence of its contents, and Defendants deny any inconsistent allegations.

                                                         43.

              Paragraph 43 characterizes the referenced report and articles, which speak for themselves

     and are the best evidence of their contents, and Defendants deny any inconsistent allegations.

                                                         44.

              Paragraph 44 characterizes the referenced report, which speaks for itself and is the best

     evidence of its contents, and Defendants deny any inconsistent allegations.

                                                         45.

              The first sentence of paragraph 45 is a legal conclusion or opinion to which no response

     is required. The remaining allegations characterize the referenced report, which speaks for itself

     and is the best evidence of its contents, and Defendants deny any inconsistent allegations.

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                                                         46.

              Paragraph 46 characterizes the referenced report, which speaks for itself and is the best

     evidence of its contents, and Defendants deny any inconsistent allegations.

                                                         47.

              Paragraph 47 characterizes the referenced report, which speaks for itself and is the best

     evidence of its contents, and Defendants deny any inconsistent allegations.

                                                         48.

              Paragraph 48 characterizes the referenced report, which speaks for itself and is the best

     evidence of its contents, and Defendants deny any inconsistent allegations.

                                                         49.

              Paragraph 49 characterizes the referenced report, which speaks for itself and is the best

     evidence of its contents, and Defendants deny any inconsistent allegations.

                                                         50.

              Paragraph 50 characterizes the referenced report, which speaks for itself and is the best

     evidence of its contents, and Defendants deny any inconsistent allegations.

                                                         51.

              Paragraph 51 characterizes the referenced report, which speaks for itself and is the best

     evidence of its contents, and Defendants deny any inconsistent allegations.

                                                         52.

              Paragraph 52 provides a legal interpretation of and characterizes the referenced statute

     and regulations, which speak for themselves and are the best evidence of their contents, and

     Defendants deny any inconsistent allegations.



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                                                      53.

           Paragraph 53 provides a legal interpretation of and characterizes the referenced

    regulation, which speaks for itself and is the best evidence of its contents, and Defendants deny

    any inconsistent allegations.

                                                      54.

           Paragraph 54 provides a legal interpretation of and characterizes the referenced

    regulation, which speaks for itself and is the best evidence of its contents, and Defendants deny

    any inconsistent allegations.

                                                      55.

           Paragraph 55 provides a legal interpretation of and characterizes the referenced

    regulation, which speaks for itself and is the best evidence of its contents, and Defendants deny

    any inconsistent allegations.

                                                      56.

           Paragraph 56 provides a legal interpretation of and characterizes the referenced

    regulation, which speaks for itself and is the best evidence of its contents, and Defendants deny

    any inconsistent allegations.

                                                      57.

           Paragraph 57 characterizes the referenced regulation, which speaks for itself and is the

    best evidence of its contents, and Defendants deny any inconsistent allegations.

                                                      58.

           With respect to paragraph 58, Defendants admit that a person may initiate the process of

    requesting a home study, for the purpose of becoming a resource parent or an adoptive parent, in

    a variety of ways, including by contacting an Oregon Department of Human Services (“ODHS”)

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    office directly, by contacting ODHS through the ODHS website, or through ODHS’s community

    partner Every Child.

                                                      59.

           Defendants admit the allegations in paragraph 59.

                                                      60.

           Defendants admit the allegations in paragraph 60.

                                                      61.

           Paragraph 61 characterizes the referenced regulation, which speaks for itself and is the

    best evidence of its contents, and Defendants deny any inconsistent allegations.

                                                      62.

           Paragraph 62 characterizes the referenced regulation, which speaks for itself and is the

    best evidence of its contents, and Defendants deny any inconsistent allegations.

                                                      63.

           Paragraph 63 characterizes the referenced regulation, which speaks for itself and is the

    best evidence of its contents, and Defendants deny any inconsistent allegations.

                                                      64.

           Paragraph 64 characterizes the referenced website, which speaks for itself and is the best

    evidence of its contents, and Defendants deny any inconsistent allegations.

                                                      65.

           Defendants admit the allegations in paragraph 65.




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                                                      66.

           Paragraph 66 contains legal conclusions or interpretations of unspecified statutes or

    regulations, which speak for themselves and are the best evidence of their contents, and

    Defendants deny any inconsistent allegations.

                                                      67.

           Paragraph 67 contains legal conclusions or interpretations of unspecified statutes or

    regulations, which speak for themselves and are the best evidence of their contents, and

    Defendants deny any inconsistent allegations.

                                                      68.

           Paragraph 68 contains legal conclusions or interpretations of unspecified statutes or

    regulations, which speak for themselves and are the best evidence of their contents, and

    Defendants deny any inconsistent allegations.

                                                      69.

           Paragraph 69 provides a legal interpretation of and characterizes the referenced

    regulation, which speaks for itself and is the best evidence of its contents, and Defendants deny

    any inconsistent allegations.

                                                      70.

           With respect to paragraph 70, Defendants admit that during the assessment and home

    study process the certifier gathers and reviews all the information to determine whether the

    applicant meets the qualifications and standards. To the extent paragraph 70 implies that the only

    information or materials that are reviewed are the information specifically referenced in the

    second sentence of paragraph 70, Defendants deny that implication.



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                                                      71.

           Defendants admit the allegations in paragraph 71. To the extent paragraph 71 implies that

    the only persons consulted in the decision-making process are the persons specifically referenced

    in paragraph 71, Defendants deny such implication.

                                                      72.

           Paragraph 72 provides a legal interpretation of and characterizes the referenced

    regulation, which speaks for itself and is the best evidence of its contents, and Defendants deny

    any inconsistent allegations.

                                                      73.

           Paragraph 73 provides a legal interpretation of and characterizes the referenced statute,

    which speaks for itself and is the best evidence of its contents, and Defendants deny any

    inconsistent allegations.

                                                      74.

           Defendants deny the allegations in paragraph 74.

                                                      75.

           With respect to paragraph 75, Defendants admit that generally, after a home seeking to

    adopt is approved, the prospective parents wait for a match, unless they are applying for a

    specific child freed for adoption.

                                                      76.

           Defendants admit the allegations in paragraph 76.

                                                      77.

           Defendants admit the allegations in paragraph 77.



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                                                      78.

           Defendants admit the allegations in paragraph 78.

                                                      79.

           Paragraph 79 provides a legal interpretation of and characterizes the referenced

    regulation, which speaks for itself and is the best evidence of its contents, and Defendants deny

    any inconsistent allegations.

                                                      80.

           Paragraph 80 provides a legal interpretation of and characterizes the referenced

    regulations, which speak for themselves and are the best evidence of its contents, and Defendants

    deny any inconsistent allegations.

                                                      81.

           Paragraph 81 provides a legal interpretation of and characterizes the referenced

    regulations, which speak for themselves and are the best evidence of its contents, and Defendants

    deny any inconsistent allegations.

                                                      82.

           Paragraph 82 provides a legal interpretation of and characterizes the referenced

    regulation, which speaks for itself and is the best evidence of its contents, and Defendants deny

    any inconsistent allegations.

                                                      83.

           Paragraph 83 provides a legal interpretation of and characterizes the referenced

    regulation, which speaks for itself and is the best evidence of its contents, and Defendants deny

    any inconsistent allegations.



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                                                      84.

           Paragraph 84 provides a legal interpretation of and characterizes the referenced

    regulation, which speaks for itself and is the best evidence of its contents, and Defendants deny

    any inconsistent allegations.

                                                      85.

           Paragraph 85 provides a legal interpretation of and characterizes the referenced

    regulation, which speaks for itself and is the best evidence of its contents, and Defendants deny

    any inconsistent allegations.

                                                      86.

           Paragraph 86 provides a legal interpretation of and characterizes the referenced

    regulations, which speak for themselves and are the best evidence of its contents, and Defendants

    deny any inconsistent allegations.

                                                      87.

           Paragraph 87 provides a legal interpretation of and characterizes the referenced

    regulation, which speaks for itself and is the best evidence of its contents, and Defendants deny

    any inconsistent allegations.

                                                      88.

           Paragraph 88 provides a legal interpretation of and characterizes the referenced

    regulation, which speaks for itself and is the best evidence of its contents, and Defendants deny

    any inconsistent allegations.




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                                                      89.

           Paragraph 89 provides a legal interpretation of and characterizes the referenced statute,

    which speaks for itself and is the best evidence of its contents, and Defendants deny any

    inconsistent allegations.

                                                      90.

           Paragraph 90 provides a legal interpretation of and characterizes the referenced statute,

    which speaks for itself and is the best evidence of its contents, and Defendants deny any

    inconsistent allegations.

                                                      91.

           Paragraph 91 provides a legal conclusion to which no response is required.

                                                      92.

           Paragraph 92 provides a legal interpretation of and characterizes the referenced statute,

    which speaks for itself and is the best evidence of its contents, and Defendants deny any

    inconsistent allegations.

                                                      93.

           Paragraph 93 provides a legal interpretation of and characterizes the referenced

    regulation, which speaks for itself and is the best evidence of its contents, and Defendants deny

    any inconsistent allegations.

                                                      94.

           Paragraph 94 provides a legal interpretation of and characterizes the referenced

    regulation, which speaks for itself and is the best evidence of its contents, and Defendants deny

    any inconsistent allegations.



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                                                      95.

           Paragraph 95 provides a legal interpretation of and characterizes the referenced

    regulation, which speaks for itself and is the best evidence of its contents, and Defendants deny

    any inconsistent allegations.

                                                      96.

           With respect to paragraph 96, Defendants admit that Plaintiff initially progressed through

    the application process by providing the agency with all necessary documentation, completing

    her training, and communicating with ODHS regarding the application process, and that concern

    about Plaintiff’s ability to meet certification standards was raised when interviews began.

                                                      97.

           Defendants admit the allegations in paragraph 97.

                                                      98.

           Defendants admit the allegations in paragraph 98.

                                                      99.

           Defendants admit the allegations in paragraph 99.

                                                     100.

           Defendants admit that Plaintiff completed the initial forms and training videos and

    registered for RAFT classes. With respect to the timeliness of those actions, ODHS lacks

    sufficient knowledge or belief as to what Plaintiff considers “prompt” and therefore denies that

    part of paragraph 100.

                                                     101.

           Defendants admit the allegations in paragraph 101.



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                                                      102.

           Defendants admit that Plaintiff submitted the application along with her fingerprints and

    consent paper for a background check. With respect to the timeliness of those actions, ODHS

    lacks sufficient knowledge or belief as to what Plaintiff considers “prompt” and therefore denies

    that part of paragraph 102.

                                                      103.

           Defendants admit the allegations in paragraph 103.

                                                      104.

           Defendants lack the information sufficient to form a belief as to the truth of the

    allegations of paragraph 104, and therefore deny the same.

                                                      105.

           Defendants lack the information sufficient to form a belief as to the truth of whether an

    instructor explained the regulation to Plaintiff during class, and therefore denies the same. The

    remaining allegations of paragraph 105 characterize the referenced regulation, which speaks for

    itself and is the best evidence of its contents, and Defendants deny any inconsistent allegations.

                                                      106.

           Defendants lack the information sufficient to form a belief as to the truth of the

    allegations of paragraph 106, and therefore deny the same.

                                                      107.

           Defendants lack the information sufficient to form a belief as to the truth of the

    allegations of paragraph 107, and therefore deny the same.




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                                                     108.

           Defendants admit that trainees received a RAFT participant manual. The remainder of

    paragraph 108 characterizes the referenced manual, which speaks for itself and is the best

    evidence of its contents, and Defendants deny any inconsistent allegations.

                                                     109.

           Paragraph 109 characterizes the referenced handout, which speaks for itself and is the

    best evidence of its contents, and Defendants deny any inconsistent allegations.

                                                     110.

           Paragraph 110 characterizes the referenced handout, which speaks for itself and is the

    best evidence of its contents, and Defendants deny any inconsistent allegations.

                                                     111.

           Paragraph 111 characterizes the referenced handout, which speaks for itself and is the

    best evidence of its contents, and Defendants deny any inconsistent allegations.

                                                     112.

           Paragraph 112 characterizes the referenced handout, which speaks for itself and is the

    best evidence of its contents, and Defendants deny any inconsistent allegations.

                                                     113.

           Paragraph 113 characterizes the referenced handout, which speaks for itself and is the

    best evidence of its contents, and Defendants deny any inconsistent allegations.

                                                     114.

           Defendants lack the information sufficient to form a belief as to the truth of the

    allegations of paragraph 114 concerning unidentified handouts, and therefore deny the same.



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                                                       115.

           Paragraph 115 characterizes an unidentified handout, which would speak for itself and is

    the best evidence of its contents, and Defendants lack information as to the contents of the

    unidentified handout sufficient to form a belief as to the truth of the allegations and, therefore,

    deny the same.

                                                       116.

           Paragraph 116 characterizes an unidentified handout, which would speak for itself and is

    the best evidence of its contents, and Defendants lack information as to the contents of the

    unidentified handout sufficient to form a belief as to the truth of the allegations and, therefore,

    deny the same.

                                                       117.

           Paragraph 117 characterizes the referenced manual, which speaks for itself and is the best

    evidence of its contents, and Defendants deny any inconsistent allegations.

                                                       118.

           Defendants lack the information sufficient to form a belief as to the truth of the

    allegations of paragraph 118, and therefore deny the same.

                                                       119.

           Defendants lack the information sufficient to form a belief as to the truth of the

    allegations of paragraph 119, and therefore deny the same.

                                                       120.

           The allegations of paragraph 120 are a statement of Plaintiff’s opinion and interpretation

    of cited biblical passages and, therefore, do not require a response. To the extent a response may



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    be required to any allegations in the paragraph, Defendants lack the information concerning

    Plaintiff’s personal beliefs sufficient to form a belief as to their truth.

                                                        121.

            The allegations of paragraph 121 are a statement of Plaintiff’s opinion and interpretation

    of cited biblical passages and, therefore, do not require a response. To the extent a response may

    be required to any allegations in the paragraph, Defendants lack the information concerning

    Plaintiff’s personal beliefs sufficient to form a belief as to their truth.

                                                        122.

            The allegations of paragraph 122 are a statement of Plaintiff’s opinion and, therefore, do

    not require a response. To the extent a response may be required to any allegations in the

    paragraph, Defendants lack the information concerning Plaintiff’s personal beliefs sufficient to

    form a belief as to their truth.

                                                        123.

            The allegations of paragraph 123 are a statement of Plaintiff’s opinion and, therefore, do

    not require a response. To the extent a response may be required to any allegations in the

    paragraph, Defendants lack the information concerning Plaintiff’s personal beliefs sufficient to

    form a belief as to their truth.

                                                        124.

            The allegations of paragraph 124 are a statement of Plaintiff’s opinion and, therefore, do

    not require a response. To the extent a response may be required to any allegations in the

    paragraph, Defendants lack the information concerning Plaintiff’s personal beliefs sufficient to

    form a belief as to their truth.



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                                                        125.

            The allegations of paragraph 125 are a statement of Plaintiff’s opinion and, therefore, do

    not require a response. To the extent a response may be required to any allegations in the

    paragraph, Defendants lack the information concerning Plaintiff’s personal beliefs sufficient to

    form a belief as to their truth.

                                                        126.

            The allegations of paragraph 126 are a statement of Plaintiff’s opinion and interpretation

    of cited biblical passages and, therefore, do not require a response. To the extent a response may

    be required to any allegations in the paragraph, Defendants lack the information concerning

    Plaintiff’s personal beliefs sufficient to form a belief as to their truth.

                                                        127.

            The allegations of paragraph 127 are a statement of Plaintiff’s opinion and interpretation

    of cited biblical passages and, therefore, do not require a response. To the extent a response may

    be required to any allegations in the paragraph, Defendants lack the information concerning

    Plaintiff’s personal beliefs sufficient to form a belief as to their truth.

                                                        128.

            The allegations of paragraph 128 are a statement of Plaintiff’s opinion and, therefore, do

    not require a response. To the extent a response may be required to any allegations in the

    paragraph, Defendants lack the information concerning Plaintiff’s personal beliefs sufficient to

    form a belief as to their truth.

                                                        129.

            The allegations of paragraph 129 are a statement of Plaintiff’s opinion and interpretation

    of cited biblical passages and, therefore, do not require a response. To the extent a response may

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    be required to any allegations in the paragraph, Defendants lack the information concerning

    Plaintiff’s personal beliefs sufficient to form a belief as to their truth.

                                                        130.

            Defendants lack the information sufficient to form a belief as to the truth of the

    allegations of paragraph 130, and therefore deny the same.

                                                        131.

            The allegations of paragraph 131 are a statement of Plaintiff’s opinion and interpretation

    of cited passages of the Christian Bible and, therefore, do not require a response. To the extent a

    response may be required to any allegations in the paragraph, Defendants lack the information

    concerning Plaintiff’s personal beliefs sufficient to form a belief as to their truth.

                                                        132.

            The allegations of paragraph 132 are a statement of Plaintiff’s opinion and interpretation

    of cited biblical passages and, therefore, do not require a response. To the extent a response may

    be required to any allegations in the paragraph, Defendants lack the information concerning

    Plaintiff’s personal beliefs sufficient to form a belief as to their truth.

                                                        133.

            Defendants deny the allegations in paragraph 133.

                                                        134.

            Defendants deny the allegations in paragraph 134.

                                                        135.

            Defendants lack the information sufficient to form a belief as to the truth of the

    allegations in the first sentence in paragraph 135, and therefore deny the same. With respect to



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    the second sentence, ODHS admits that Plaintiff must agree to use the preferred pronouns of any

    child for whom she would be a resource or foster parent.

                                                      136.

           Defendants deny that there are an infinite number and variety of pronouns. With respect

    to the allegations in the remainder of paragraph 136, Defendants lack the information sufficient

    to form a belief as to what Plaintiff considers offensive and religiously obligated to avoid using.

                                                      137.

           Defendants deny the allegations in paragraph 137.

                                                      138.

           The allegations in paragraph 138 purport to characterize the rule, which speaks for itself

    and is the best evidence of its contents, and Defendants deny any inconsistent allegations.

                                                      139.

           The allegations in paragraph 139 purport to characterize the rule, which speaks for itself

    and is the best evidence of its contents, and Defendants deny any inconsistent allegations.

    Defendants further deny that “gender**k,” or “xenogenders” like “daimogender” and

    “witchgender” are identities currently captured in sexual orientation, gender identity and

    expression identifications used by ODHS.

                                                      140.

           Defendants lack the information sufficient to form a belief as to what Plaintiff considers

    offensive and religiously obligated to avoid affirming or supporting, and therefore deny the

    allegations of paragraph 140.

                                                      141.

           Paragraph 141 states opinions and legal conclusions which require no response.

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                                                      142.

           Defendants lack the information sufficient to form a belief as to the truth of the

    allegations of paragraph 142, and therefore deny the same.

                                                      143.

           Defendants lack the information sufficient to form a belief as to the truth of the

    allegations of paragraph 143, and therefore deny the same.

                                                      144.

           The allegations in paragraph 144 purport to characterize the rule, which speaks for itself

    and is the best evidence of its contents, and Defendants deny any inconsistent allegations.

    Additionally, Defendants lack the information sufficient to form a belief as to the truth of what

    Plaintiff’s religious beliefs “accept” or “support,” and therefore deny the same.

                                                      145.

           Paragraph 145 states opinions and legal conclusions which require no response.

                                                      146.

           Defendants lack the information sufficient to form a belief as to the truth of the

    allegations of paragraph 146, and therefore deny the same.

                                                      147.

           Defendants lack the information sufficient to form a belief as to the truth of the

    allegations of paragraph 147, and therefore deny the same.

                                                      148.

           The allegations in paragraph 148 purport to characterize the rule, which speaks for itself

    and is the best evidence of its contents, and Defendants deny any inconsistent allegations.



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                                                      149.

            Paragraph 149 states opinions and legal conclusions which require no response.

                                                      150.

            Paragraph 150 states opinions and legal conclusions reading whether the regulation

    compels behavior, which require no response. Defendants lack the information sufficient to form

    a belief as to the truth of the remaining allegations of paragraph 150, and therefore deny the

    same.

                                                      151.

            Defendants lack the information sufficient to form a belief as to the truth of the

    allegations of paragraph 151, and therefore deny the same.

                                                      152.

            Defendants lack the information sufficient to form a belief as to the truth of the

    allegations of paragraph 152, and therefore deny the same.

                                                      153.

            Defendants lack the information sufficient to form a belief as to the truth of the

    allegations of paragraph 153, and therefore deny the same.

                                                      154.

            Defendants lack the information sufficient to form a belief as to the truth of the

    allegations of paragraph 154, and therefore deny the same.

                                                      155.

            Defendants lack the information sufficient to form a belief as to the truth of the

    allegations of paragraph 155, and therefore deny the same.



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                                                     156.

           Defendants lack the information sufficient to form a belief as to the truth of the

    allegations of paragraph 156, and therefore deny the same.

                                                     157.

           Defendants deny the allegations in paragraph 157.

                                                     158.

           Defendants deny the allegations in paragraph 158.

                                                     159.

           Defendants lack the information sufficient to form a belief as to the truth of the

    allegations of paragraph 159, and therefore deny the same.

                                                     160.

           Defendants lack the information sufficient to form a belief as to the truth of the

    allegations of paragraph 160, and therefore deny the same.

                                                     161.

           Defendants lack the information sufficient to form a belief as to the truth of the

    allegations of paragraph 161 and therefore deny the same.

                                                     162.

           Defendants lack the information sufficient to form a belief as to the truth of the

    allegations of paragraph 162, and therefore deny the same.

                                                     163.

           Paragraph 163 states opinions and legal conclusions which require no response.

                                                     164.

           Defendants admit the allegations in paragraph 164.

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                                                      165.

           Defendants admit the allegations in paragraph 165.

                                                      166.

           Defendants admit the allegations in paragraph 166.

                                                      167.

           Defendants deny that Plaintiff explicitly stated that "part of the training weighed on her

    conscience”, but are without information sufficient to form a belief as to Plaintiff’s intentions

    when writing the email.

                                                      168.

           Defendants admit the allegations in paragraph 168.

                                                      169.

           Defendants lack sufficient information to know what Ms. Bates sought to explain in the

    portion of the email in paragraph 168, and therefore deny the allegations in paragraph 169.

                                                      170.

           Defendants lack the information sufficient to form a belief as to the truth of the

    allegations of paragraph 170, and therefore deny the same.

                                                      171.

           Defendants lack the information sufficient to form a belief as to the truth of the

    allegations of paragraph 171, and therefore deny the same.

                                                      172.

           Defendants admit the allegations in paragraph 172.

                                                      173.

           Defendants admit the allegations in paragraph 173.

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                                                     174.

            Defendants admit the allegations in paragraph 174.

                                                     175.

            With respect to paragraph 175, Defendants admit that Ms. Garcia called Plaintiff on

    September 22, 2022, but deny the remainder of the allegations characterizing the timing or nature

    of the call.

                                                     176.

            Defendants deny the allegations in the first sentence of paragraph 176. With respect to

    the second sentence of paragraph 176, Defendants admit that Ms. Garcia explained that not

    supporting a child’s sexual orientation, gender identity, and gender expression could be grounds

    for a denial of Plaintiff’s application based on OAR 413-200-0308(2)(k).

                                                     177.

            Defendants admit the allegations in paragraph 177. To the extent paragraph 177 implies

    that the specified example was the only example discussed during the interaction between

    Plaintiff and Ms. Garcia, Defendants deny such implication.

                                                     178.

            With respect to paragraph 178, Defendants admit that Ms. Bates responded that she

    would not take the hypothetical child to receive hormone shots. Defendants deny that

    administering hormone shots to youth is child abuse. Defendants further deny that the discussion

    referenced in paragraph 178 solely concerned children under the age of nine.

                                                     179.

            Defendants admit that Ms. Garcia explained that Ms. Bates’ unwillingness to take a

    hypothetical child for medical treatment did not comply with DHS regulations. Defendants deny

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    that Ms. Garcia stated that Ms. Bates’ stance did not comply with RAFT training or that Ms.

    Bates was disqualified.

                                                     180.

           Defendants lack the information sufficient to form a belief as to the truth of the

    allegations of paragraph 180, and therefore deny the same.

                                                     181.

           Defendants admit that Plaintiff made the statement described in paragraph 181, but

    Defendants deny that Plaintiff’s application was denied because of her religious beliefs.

                                                     182.

           Defendants admit the allegations in paragraph 182.

                                                     183.

           With respect to paragraph 183, Defendants admit that Plaintiff asked Ms. Garcia about

    the possibility of finding a child under the age of nine who did not present with gender dysphoria

    or an expressed transgender identity. Defendants deny that Plaintiff asked about a sibling pair.

                                                     184.

           Defendants admit that Ms. Garcia made the statement described in paragraph 184. To the

    extent paragraph 184 implies that the chances of any particular child or young adult expressing

    gender dysphoria are, in fact, “extremely remote,” Defendants deny such implication.

                                                     185.

           Defendants admit the allegations in paragraph 185.

                                                     186.

           Defendants admit the allegations in paragraph 186.



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                                                      187.

           Defendants admit the allegations in paragraph 187.

                                                      188.

           Defendants admit the allegations in paragraph 188.

                                                      189.

           With respect to paragraph 189, Defendants admit that Plaintiff sent an email on October

    6. The remaining allegations in paragraph 189 characterize the referenced email, which speaks

    for itself and is the best evidence of its contents, and Defendants deny any inconsistent

    allegations.

                                                      190.

           With respect to paragraph 190, Defendants admit that Ms. Garcia sent an email to

    Plaintiff on October 14. The remaining allegations in paragraph 190 characterize the referenced

    email, which speaks for itself and is the best evidence of its contents, and Defendants deny any

    inconsistent allegations.

                                                      191.

           With respect to paragraph 191, Defendants admit that Plaintiff sent an email to Ms.

    Garrison, who was Ms. Garcia’s supervisor, on November 1. The remaining allegations in

    paragraph 191 characterize the referenced email, which speaks for itself and is the best evidence

    of its contents, and Defendants deny any inconsistent allegations.

                                                      192.

           With respect to paragraph 192, Defendants admit that Ms. Garrison responded, on

    November 8, to the email referenced in paragraph 191. The remaining allegations in paragraph



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    192 characterize Ms. Garrison’s November 8 response, which speaks for itself and is the best

    evidence of its contents, and Defendants deny any inconsistent allegations.

                                                     193.

           Defendants admit the allegations in paragraph 193.

                                                     194.

           Defendants admit the allegations in paragraph 194.

                                                     195.

           Paragraph 195 characterizes the referenced letter, which speaks for itself and is the best

    evidence of its contents, and Defendants deny any inconsistent allegations.

                                                     196.

           Paragraph 196 characterizes the referenced letter, which speaks for itself and is the best

    evidence of its contents, and Defendants deny any inconsistent allegations.

                                                     197.

           Paragraph 197 characterizes the referenced letter, which speaks for itself and is the best

    evidence of its contents, and Defendants deny any inconsistent allegations.

                                                     198.

           Paragraph 198 characterizes the referenced letter, which speaks for itself and is the best

    evidence of its contents, and Defendants deny any inconsistent allegations.

                                                     199.

           Paragraph 199 characterizes the referenced letter, which speaks for itself and is the best

    evidence of its contents, and Defendants deny any inconsistent allegations.




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                                                     200.

           Defendants lack the information sufficient to form a belief as to the truth of the

    allegations of paragraph 200, and therefore deny the same.

                                                     201.

           Defendants lack the information sufficient to form a belief as to the truth of the

    allegations of paragraph 201, and therefore deny the same.

                                                     202.

           Defendants lack the information sufficient to form a belief as to the truth of the

    allegations of paragraph 202, and therefore deny the same.

                                                     203.

           Defendants deny the allegations of paragraph 203.

                                                     204.

           Defendants lack the information sufficient to form a belief as to the truth of the

    allegations of paragraph 204, and therefore deny the same.

                                                     205.

           Defendants lack the information sufficient to form a belief as to the truth of the

    allegations of paragraph 205, and therefore deny the same.

                                                     206.

           Defendants deny the allegations in paragraph 206.

                                                     207.

           Defendants deny the allegations in paragraph 207.

                                                     208.

           Defendants deny the allegations in paragraph 208.

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                                                   209.

          Defendants deny the allegations in paragraph 209.

                                                   210.

          Defendants deny the allegations in paragraph 210.

                                                   211.

          Defendants deny the allegations in paragraph 211.

                                                   212.

          Defendants deny the allegations in paragraph 212.

                                                   213.

          Defendants deny the allegations in paragraph 213.

                                                   214.

          Defendants deny the allegations in paragraph 214.

                                                   215.

          Defendants deny the allegations in paragraph 215.

                                                   216.

          Defendants deny the allegations in paragraph 216.

                                                   217.

          Defendants deny the allegations in paragraph 217.

                                                   218.

          Defendants deny the allegations in paragraph 218.

                                                   219.

          Defendants deny the allegations in paragraph 219.



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                                                      220.

           With respect to paragraph 220, Defendants admit that ODHS requires an application for

    an adoption home study to include an Adoptive Family Information and Placement Preference

    form, unless ODHS determines this is not required due to the existing relationship between the

    child and the applicant, and that the referenced form allows applicants to express placement

    preferences based on certain characteristics.

                                                      221.

           Defendants admit the allegations in paragraph 221.

                                                      222.

           With respect to paragraph 222, Defendants admit that ODHS allows applicants to express

    a preference for children based on age. The remaining allegations in paragraph 222 provide a

    legal interpretation of and characterize the referenced statutes, which speak for themselves and

    are the best evidence of their contents, and Defendants deny any inconsistent allegations.

                                                      223.

           Defendants admit the allegations in paragraph 223.

                                                      224.

           Defendants admit the allegations in paragraph 224.

                                                      225.

           Defendants admit the allegations in paragraph 225.

                                                      226.

           Defendants admit the allegations in paragraph 226.

                                                      227.

           Defendants admit the allegations in paragraph 227.

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                                                      228.

           Defendants admit the allegations in paragraph 228.

                                                      229.

           Paragraph 229 provides a legal interpretation of and characterizes the referenced

    regulation, which speaks for itself and is the best evidence of its contents, and Defendants deny

    any inconsistent allegations. To the extent paragraph 229 alleges that Plaintiff is open to

    adopting any child regardless of gender identity or gender expression, Defendants are without

    knowledge or information sufficient to form a belief as to the truth of that allegation and

    therefore deny the same.

                                                      230.

           Paragraph 230 provides a legal interpretation of and characterizes the referenced

    regulation, which speaks for itself and is the best evidence of its contents, and Defendants deny

    any inconsistent allegations.

                                                      231.

           Defendants deny the allegations in paragraph 231.

                                                      232.

           Defendants deny the allegations in paragraph 232.

                                                      233.

           Defendants deny the allegations in paragraph 233.

                                                      234.

           Defendants deny the allegations in paragraph 234.




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                                                     235.

           Paragraph 235 characterizes the referenced letter, which speaks for itself and is the best

    evidence of its contents, and Defendants deny any inconsistent allegations.

                                                     236.

           Defendants deny the allegations in paragraph 236.

                                                     237.

           Defendants deny the allegations in paragraph 237.

                                                     238.

           Defendants deny the allegations in paragraph 238.

                                                     239.

           Defendants deny the allegations in paragraph 239.

                                                     240.

           Defendants deny the allegations in paragraph 240.

                                                     241.

           Defendants deny the allegations in paragraph 241.

                                                     242.

           Paragraph 242 provides a legal interpretation of and characterizes the referenced

    regulation and statute, which speak for themselves and are the best evidence of their contents,

    and Defendants deny any inconsistent allegations.

                                                     243.

           Paragraph 243 provides a legal interpretation of and characterizes the referenced

    regulation, which speaks for itself and is the best evidence of its contents, and Defendants deny

    any inconsistent allegations.

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                                                     244.

           Paragraph 244 provides a legal interpretation of and characterizes the referenced

    regulation, which speaks for itself and is the best evidence of its contents, and Defendants deny

    any inconsistent allegations.

                                                     245.

           Paragraph 245 provides a legal interpretation of and characterizes the referenced

    regulation, which speaks for itself and is the best evidence of its contents, and Defendants deny

    any inconsistent allegations.

                                                     246.

           Defendants deny the allegations in paragraph 246.

                                                     247.

           Paragraph 247 provides a legal interpretation of and characterizes the referenced

    regulations and statutes, which speaks for themselves and are the best evidence of their contents,

    and Defendants deny any inconsistent allegations.

                                                     248.

           Paragraph 248 provides a legal interpretation of and characterizes the referenced

    regulations, which speaks for themselves and are the best evidence of their contents, and

    Defendants deny any inconsistent allegations.

                                                     249.

           Defendants lack the information sufficient to form a belief as to the truth of the

    allegations of paragraph 249, and therefore deny the same.




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                                                      250.

           Defendants lack the information sufficient to form a belief as to the truth of the

    allegations of paragraph 250, and therefore deny the same.

                                                      251.

           Defendants lack the information sufficient to form a belief as to the truth of the

    allegations of paragraph 251, and therefore deny the same.

                                                      252.

           Paragraph 252 provides a legal interpretation of and characterizes the referenced statute,

    which speaks for itself and is the best evidence of its contents, and Defendants deny any

    inconsistent allegations.

                                                      253.

           Defendants deny the allegations in paragraph 253.

                                                      254.

           With respect to paragraph 254, Defendants admit that OAR 413-200-0308(2)(k) applies

    to applicants who seek certification from the state or from private agencies to become certified

    resource families or potential adoptive resources for children or young adults in the care or

    custody of ODHS. Defendants deny the remaining allegations in paragraph 254.

                                                      255.

           The allegations of paragraph 255 are argument and require no response. To the extent a

    response is necessary, Defendants deny the allegations.

                                                      256.

           Defendants lack the information sufficient to form a belief as to the truth of the

    allegations of paragraph 256, and therefore deny the same.

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                                                     257.

           Defendants lack the information sufficient to form a belief as to the truth of the

    allegations of paragraph 257, and therefore deny the same.

                                                     258.

           Paragraph 258 states opinions and legal conclusions which require no response.

                                                     259.

           Defendants lack the information sufficient to form a belief as to the truth of the

    allegations of paragraph 259, and therefore deny the same.

                                                     260.

           Defendants deny the allegations of paragraph 260.

                                                     261.

           Defendants deny the allegations of paragraph 261.

                                                     262.

           Defendants deny the allegations of paragraph 262.

                                                     263.

           Defendants deny the allegations of paragraph 263.

                                                     264.

           Paragraph 264 states opinions and legal conclusions which require no response.

                                                     265.

           Defendants lack the information sufficient to form a belief as to the truth of the

    allegations of paragraph 265, and therefore deny the same.

                                                     266.

           Defendants deny the allegations of paragraph 266.

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                                                   267.

          Defendants deny the allegations of paragraph 267.

                                                   268.

          Defendants deny the allegations of paragraph 268.

                                                   269.

          Defendants deny the allegations of paragraph 269.

                                                   270.

          Defendants deny the allegations of paragraph 270.

                                                   271.

          Defendants deny the allegations of paragraph 271.

                                                   272.

          Paragraph 272 states opinions and legal conclusions which require no response.

                                                   273.

          Defendants deny the allegations of paragraph 273.




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                                                     274.

          Defendants deny the allegations of paragraph 274.

                                                     275.

          Defendants deny that Plaintiff is entitled to the relief requested.



          DATED June 26 , 2023.

                                                        Respectfully submitted,

                                                        ELLEN F. ROSENBLUM
                                                        Attorney General



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